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IN THE UNITED STATES DISTRICT COURT

 

FOR THE DISTRICT OF COLUMBIA - I L E D
) OCT 18 2019
CHRISTELA SAINT JEAN )
) Clerk, U.S. District & Bankruptcy
Plaintiff, ) Courts for the District of Columbia
)
V. )
) Civil Action No. 1:16-cv-00520-RJL
HILTON WORLDWIDE, INC. )
)
Defendant. )
)

 

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
IT IS STIPULATED by and between the parties named in this action through their

respective counsel that the above-captioned matter be and is hereby dismissed with prejudice
pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. The parties shall bear

their own respective costs and attorneys’ fees.

Entered into this 7 day of October, 2019.

 

for the District of Columbia
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Dated: October 15, 2019

By:

SEEN AND AGREED:

/s/ A.J. Dhali*

 

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*signed by Matthew F. Nieman with
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CERTIFICATE OF SERVICE

Il hereby certify on October 15, 2019, a copy of the foregoing Joint Stipulation of Dismissal

was served and filed electronically with the Clerk of the Court using the CM/ECF, upon:

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By:

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